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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                                 Case No. 19-10747 (shl)
JEFFREY LEW LIDDLE,

                               Debtor.
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    ORDER GRANTING DEBTOR’S MOTION FOR AN ORDER UNDER 11 U.S.C.
    §§105, 542, and 543 DIRECTING CUSTODIAN TO TURNOVER PROPERTY
      AND FOR AN INTERIM ORDER AUTHORIZING THE DEBTOR TO PAY
             RENT EXPENSES AND GRANTING RELATED RELIEF



             Upon the motion (the “Motion”) of Jeffrey L. Liddle, (the “Debtor”) as debtor and

    debtor-in-possession in the above-captioned chapter 11 case (the “Chapter 11 Case”), for

    entry of an order under 11 U.S.C. §§ 105, 542 and 543 directing Custodian to turn over

    property 1 (the “Turnover Motion”) [Doc 14]; and the Court having considered the

    Turnover Motion; the Response by Counsel Financial II LLC to Debtor’s Motion (I)

    under 11 U.S.C. §§ 105, 542 and 543 for Turnover of Property by Escrow Agent or

    Custodian; and (II) under 11 U.S.C. § 363 for use of Cash Collateral [Docs 23, 24]; and

    the Court having further considered the (Statement in Support of Turnover Subject to

    White & Wolnerman Charging Lien), filed by Randolph E. White on behalf of White &

    Wolnerman, PLC [Docs 18, 19]; and the Court having jurisdiction over this matter

    pursuant to 28 U.S.C. § 1334; and the Turnover Motion being a core proceeding

    pursuant to 28 U.S.C. § 157(b)(2); and due and proper notice having been served, and

    upon hearings held on March 28 and April 1, 2019, and the Court having determined



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    Defined Terms in the Turnover Motion shall be used herein.



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 that the relief granted herein is in the best interest of the Debtor’s estate and its

 creditors; and this Court having determined that the legal and factual bases set forth in

 the Turnover Motion establish just cause for the relief granted herein; it is hereby

 ordered as follows:


1.       The Motion is GRANTED to the extent set forth below.

2.       Diane Nardone, Esq. (the “Custodian”) is directed to turn over the Escrowed

Funds, as soon as practical, to the possession and control of the Debtor by transferring

by wire transfer the Escrowed Funds in the amount of $2,181, 207.77 into the Debtor-in-

Possession Account (the “DIP Account”) established by the Debtor at Wells Fargo Bank,

pursuant to wire instructions provided to the Custodian by the Debtor, and

3.       The Custodian is discharged from any further obligations as Escrow Agent and

shall be released from any and all claims that have arisen, or may arise, against her from

acting in her capacity as the Escrow Agent for the Escrowed Funds.

4.       The Debtor is authorized to pay immediately from the DIP Account the April

rental obligation on his and his wife’s personal residence in the amount of $7,500.00 and

the April rent for the Debtor’s business offices in the amount of $9,847.64.

5.       This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation, and enforcement of this Order.




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 6.      The Debtor is prohibited from using any additional funds in the DIP Account

 without further Order of the Court.


 Dated: New York, New York
       April 1, 2019
                                           /s/ Sean H. Lane
                                           HONORABLE SEAN H. LANE
                                           UNITED STATES BANKRUPTCY JUDGE




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